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                                      UNITED	  STATES	  DISTRICT	  COURT	  
                                         DISTRICT	  OF	  NEW	  MEXICO	  
	  
SWEPI	  LP,	  a	  Delaware	           	        	            	    )	       	  
Limited	  Partnership,	  	             	        	            	    )	  
	          	        	        	        	        	            	    )	       	        	  
Plaintiff	           	        	        	        	            	    )	       	        	  
	          	        	        	        	        	            	    )	  
v.	  	    	        	        	        	        	            	    )	       Case	  No.:	  1:14:cv-­‐00035	            	  
	          	        	        	        	        	            	    )	       JB/SCY	  
MORA	  COUNTY,	  NEW	  MEXICO;	                 	            	    )	  
MORA	  COUNTY	  BOARD	  OF	  COUNTY	  	                     	    )	  
COMMISSIONERS,	  PAULA	  A.	  GARCIA,	  	                    	    )	  
Mora	  County	  Commissioner;	  	               	            	    )	  
JOHN	  P.	  OLIVAS,	  Mora	  County	  	       	            	    )	  
Commissioner;	  and	  ALFONSO	  J.	  GRIEGO,	  	   	             )	  
Mora	  County	  Commissioner,	  	               	            	    )	       	  
	          	        	        	        	        	            	    )	  
Defendants	  	   	           	        	        	            	    )	  	  
	          	        	        	        	        	            	    )	  
and	  	   	        	        	        	        	            	    )	  
	          	        	        	        	        	            	    )	  
LA	  MERCED	  DE	  SANTA	  GETRUDIS	  DE	  LO	   	              )	  
DE	  MORA,	  a	  Land	  Grant	  Entity;	  and	  	         	    )	  
JACOBO	  E.	  PACHECO,	  an	  individual,	  	               	    )	  
	          	        	        	        	        	            	    )	  
Intervenors	   	              	        	        	            	    )	  
                                                                  	  
                                                MOTION	  TO	  DISMISS	  
	  
	  
            Pursuant	  to	  Federal	  Rules	  of	  Civil	  Procedure	  12(b)(1)	  and	  12(b)(6),	  La	  

Merced	  de	  Santa	  Getrudis	  de	  lo	  de	  Mora,	  a	  New	  Mexico	  Land	  Grant	  Entity,	  and	  

Jacobo	  E.	  Pacheco,	  an	  individual	  (collectively,	  “Intervenors”)	  respectfully	  move	  this	  

Court	  to	  dismiss	  the	  Complaint	  filed	  in	  this	  action	  for	  the	  following	  reasons:	  

          	  

         1. On	  April	  29,	  2013,	  the	  people	  of	  Mora	  County,	  New	  Mexico	  and	  the	  Mora	  

                 County	  Board	  of	  County	  Commissioners	  adopted	  the	  “Mora	  County	  
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             Community	  Water	  Rights	  and	  Local	  Self-­‐Government	  Ordinance”,	  

             Ordinance	  2013-­‐01.	  	  (Doc.	  1,	  	  Ex.	  1.	  “Ordinance”).	  	  

        2. The	  Mora	  County	  Board	  of	  County	  Commissioners	  enacted	  the	  Ordinance	  

             as	  an	  exercise	  of	  their	  police	  powers	  and	  their	  statutory	  authority.	  

        3. The	  people	  of	  Mora	  County	  adopted	  the	  Ordinance	  as	  an	  exercise	  of	  their	  

             constitutionally	  guaranteed	  and	  inherent	  rights	  to	  local	  self-­‐government.	  

        4. The	  Ordinance,	  adopted	  by	  the	  people	  of	  the	  County	  and	  the	  municipal	  

             corporation,	  created	  a	  community	  bill	  of	  rights	  for	  the	  people	  of	  Mora	  

             County,	  while	  protecting	  those	  rights	  by	  prohibiting	  commercial	  

             hydrocarbon	  extraction,	  and	  related	  activities,	  within	  the	  County.	  Id.	  at	  

             §5.1	  to	  §5.4.	  

        5. The	  Ordinance	  protects	  the	  enforceability	  of	  the	  bill	  of	  rights	  and	  the	  

             Ordinance’s	  prohibitions	  by	  subordinating	  corporate	  rights	  and	  powers	  to	  

             the	  people’s	  rights,	  and	  to	  the	  prohibitions	  necessary	  to	  protect	  those	  

             rights.	  

        6. Specifically,	  the	  Ordinance	  establishes	  that	  corporations	  -­‐	  either	  operating	  

             in	  violation	  of	  the	  ordinance’s	  prohibitions	  or	  seeking	  to	  engage	  in	  

             activities	  that	  would	  violate	  the	  ordinance’s	  prohibitions	  –	  shall	  not	  

             possess	  certain	  constitutional	  and	  legal	  protections	  within	  Mora	  County,	  

             which	  would	  interfere	  with	  the	  enforcement	  of	  the	  Ordinance.	  Id.	  at	  §§5.5	  

             and	  5.6.	  

        7. Section	  5.5	  of	  the	  Ordinance	  establishes	  that	  those	  corporations	  “shall	  not	  

             have	  the	  rights	  of	  ‘persons’	  afforded	  by	  the	  United	  States	  and	  New	  Mexico	  



	                                                                2	  
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             Constitutions,”	  nor	  shall	  those	  corporations	  “be	  afforded	  the	  protections	  of	  

             the	  commerce	  or	  contracts	  clauses	  within	  the	  United	  States	  Constitution	  

             or	  corresponding	  sections	  of	  the	  New	  Mexico	  Constitution.”	  	  

        8. Section	  5.6	  of	  the	  Ordinance	  establishes	  that	  those	  corporations	  “shall	  not	  

             possess	  the	  authority	  or	  power	  to	  enforce	  State	  or	  federal	  preemptive	  law	  

             against	  the	  people	  of	  Mora	  County,	  or	  to	  challenge	  or	  overturn	  County	  

             ordinances	  adopted	  by	  the	  Mora	  County	  Commission	  when	  that	  

             enforcement	  or	  challenge.	  .	  .	  interferes	  with	  the	  authority	  of	  the	  county	  to	  

             protect	  the	  health,	  safety,	  and	  welfare	  of	  its	  residents.”	  

        9. The	  Ordinance	  defines	  a	  “corporation”	  as	  “any	  corporation,	  limited	  

             partnership,	  limited	  liability	  partnership,	  business	  trust,	  or	  limited	  liability	  

             company.”	  Id.	  at	  §3.1.	       	  

        10. 	  On	  or	  about	  January	  10,	  2014,	  SWEPI,	  LP	  [hereinafter	  “Plaintiff-­‐

             Corporation”],	  a	  Delaware	  limited	  partnership	  with	  its	  principal	  place	  of	  

             business	  in	  Houston,	  Texas,	  filed	  the	  above-­‐captioned	  action	  with	  this	  

             Court	  (served	  on	  Defendant	  Mora	  County	  on	  January	  27,	  2014),	  seeking	  

             declaratory	  relief,	  injunctive	  relief,	  and	  damages	  from	  Mora	  County.	  

        11. The	  Plaintiff-­‐Corporation	  is	  a	  “corporation”	  as	  that	  term	  is	  defined	  within	  

             the	  Ordinance.	  

        12. In	  its	  Complaint,	  the	  Plaintiff-­‐Corporation	  alleges	  violations	  of	  the	  entity’s	  

             “personhood”	  rights	  –	  its	  equal	  protection	  rights,	  due	  process	  rights,	  

             federal	  1st	  Amendment	  rights,	  and	  federal	  14th	  Amendment	  rights,	  in	  




	                                                             3	  
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             addition	  to	  its	  non-­‐personhood	  rights,	  such	  as	  those	  claimed	  under	  the	  

             commerce	  clause	  in	  the	  U.S.	  Constitution.	  

        13. In	  its	  Complaint,	  the	  Plaintiff-­‐Corporation	  further	  alleges	  that	  the	  

             Ordinance	  is	  preempted	  by	  state	  law.	  See	  Complaint	  Doc.	  1	  at	  21-­‐23.	  

        14. Pursuant	  to	  §5.5	  of	  the	  Ordinance,	  however,	  the	  Plaintiff-­‐Corporation	  lacks	  

             equal	  protection,	  commerce	  clause,	  due	  process,	  1st	  Amendment,	  and	  14th	  

             Amendment	  protections	  within	  Mora	  County.	  	  

        15. Pursuant	  to	  the	  part	  of	  Sec.	  5.6	  of	  the	  Ordinance	  applicable	  to	  

             Corporations.	  Swepi	  does	  not	  have	  the	  authority	  “to	  enforce	  State	  or	  

             federal	  preemptive	  law	  against	  the	  people	  of	  Mora	  County,	  or	  to	  challenge	  

             or	  overturn	  County	  ordinances	  adopted	  by	  the	  Mora	  County	  Commission,	  

             when	  that	  enforcement	  or	  challenge	  interferes	  with	  the	  rights	  asserted	  by	  

             this	  ordinance	  or	  interferes	  with	  the	  authority	  of	  the	  county	  to	  protect	  the	  

             health,	  safety,	  and	  welfare	  of	  its	  residents.”	  (Intervenors	  do	  not	  believe	  

             that	  the	  provision	  in	  Sec.	  5.6	  that	  applies	  to	  individuals	  is	  applicable	  to	  

             Swepi,	  a	  corporation,	  	  and	  accept	  the	  argument	  that	  the	  County	  does	  not	  

             have	  the	  authority	  to	  impinge	  upon	  the	  constitutional,	  statutory	  or	  

             environmental	  rights	  of	  human	  individuals)	  

        16. The	  Mora	  County	  municipal	  corporation	  possesses	  both	  statutory	  and	  

             inherent	  authority	  to	  create,	  recognize,	  and	  secure	  the	  civil,	  political,	  and	  

             environmental	  rights	  of	  the	  residents	  of	  Mora	  County,	  but	  under	  no	  

             circumstances	  can	  the	  municipal	  corporation	  violate,	  limit	  or	  impinge	  




	                                                              4	  
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              upon	  the	  constitutional	  or	  statutory	  or	  environmental	  rights	  of	  human	  

              individuals.	  

        17. The	  Mora	  County	  municipal	  corporation	  possesses	  both	  statutory	  and	  

              inherent	  authority	  to	  secure	  and	  enforce	  peoples’	  civil,	  political,	  and	  

              environmental	  rights	  by	  subordinating	  corporate	  rights	  and	  powers	  to	  

              those	  of	  the	  people	  of	  Mora	  County.	  	  

        18. The	  Plaintiff-­‐Corporation	  has	  failed	  to	  state	  a	  claim	  upon	  which	  relief	  can	  

              be	  granted.	  

        19. The	  Plaintiff-­‐Corporation	  lacks	  standing	  to	  maintain	  this	  claim.	  

        20. The	  Plaintiff	  opposes	  this	  Motion	  and	  the	  County	  Defendants	  support	  it.	  

	  

          Accordingly,	  for	  the	  reasons	  set	  forth	  above	  the	  Intervenors	  move	  for	  a	  

dismissal	  of	  the	  Complaint	  pursuant	  to	  Fed.	  R.Civ.Pro.	  12(b)(1)	  and	  12(b)(6).	  

Respectfully	  submitted	  this	  15th	  Day	  of	  December,	  2014	  

/s/	  Jeffrey	  H.	  Haas	  
	  Jeffrey	  H.	  Haas,	  Esq.	  
1433	  Seville	  Road	  
Santa	  Fe,	  New	  Mexico	  87505	  
(505)	  469-­‐0714	  
Jeffhhaas@aol.com	  
Attorney	  for	  Intervenors	  



                                                  Certificate of Service

       I HEREBY CERTIFY that on the 15th day of December, 2014, I filed the
foregoing electronically through the CM/ECF system, which caused the following parties
or counsel to be served by electronic means, as more fully reflected on the Notice of
Electronic filing:

                                                                              Attorneys for Defendants


	                                                                 5	  
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                                                           NANCY R. LONG
                                                           JUSTIN W. MILLER
                                                           P. O. Box 5098
                                                           Santa Fe, NM 87502-5098
                                                           505-982-8405
                                                           nancy@longpoundkomer.com
                                                           justin@longpoundkomer.com
                                                           email@longpoundkomer.com

                                                           Attorneys for Plaintiff
                                                            Bradford C. Berge
                                                            John C. Anderson
                                                            Larry J. Montano
                                                            Michael H. Feldewert
                                                            bberge@hollandhart.com
	              	     	     	     	     	      	      jcanderson@hollandhart.com
	              	     	     	     	     	      	      lmontano@hollandhart.com
                                                            mfeldewert@hollandhart.com




	  
	  
       	  

                	  




	                                                 6	  
